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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DELPHINE ALLEN, et al.,                           Case No. 00-cv-04599-WHO
                                                        Plaintiffs,
                                   8
                                                                                           ORDER APPROVING PAYMENT TO
                                                 v.                                        MONITOR AND COMPLIANCE
                                   9
                                                                                           DIRECTOR (SEPTEMBER 2018)
                                  10     CITY OF OAKLAND, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the invoices submitted by the Monitor and Compliance Director

                                  14   for September 2018 and finds the requested amounts reasonable to pay. Accordingly, the Clerk

                                  15   shall disburse $12,500.00 to Warshaw & Associates, Inc., for the Compliance Director, and

                                  16   $64,651.59 to Police Performance Solutions LLC, for the Monitor.

                                  17          The City is reminded of its obligation to deposit into the Court registry, within fourteen

                                  18   days, the total amount disbursed by this Order. Jan. 19, 2017 Order at 2.

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                                  20          IT IS SO ORDERED.

                                  21   Dated: October 3, 2018

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                                                                                                    William H. Orrick
                                  24                                                                United States District Judge
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